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                           IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,                         )
                                                  )
                        Plaintiff,                )
                                                  )
v.                                                )
                                                  )              Case No. 08-20150-CM
                                                  )
JAMES ADAM JACKSON,                               )
                                                  )
                        Defendant.                )
                                                  )
                                                  )


                                     MEMORANDUM AND ORDER

          This matter comes before the court on defendant’s pro se Motion for Modification of Sentence

Pursuant to 18 U.S.C. § 3582(c)(2). (Doc. 124.) Defendant argues he is eligible for relief based on

§ 3582(c)(2) and recent case law specific to plea agreements entered into pursuant to Fed. R. Crim. P.

11(c)(1)(C). For the following reasons, the court denies defendant’s motion.

     I.      Factual and Procedural Background

          On March 30, 2009, defendant entered into a plea agreement pursuant to Fed. R. Crim. P.

11(c)(1)(C) and pleaded guilty to 21 U.S.C. § 846, conspiracy to distribute and possess with intent to

distribute 50 grams or more of methamphetamine; and 18 U.S.C. § 924(c)(1), use and possession of a

firearm in furtherance of a drug trafficking crime. (Doc. 33. at 1.) Pursuant to the plea agreement, the

government and defendant proposed a term of imprisonment of 120 months for the drug offense and 60

months for the firearm offense, for a total term of imprisonment of 180 months. (Id. at 5.) The court

adopted the Presentence Investigation Report (“PSIR”), which concluded that had defendant not

entered into the plea agreement, his guideline imprisonment range would have been 210 to 262




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months.1 On March 22, 2010, the court accepted the binding plea agreement and sentenced defendant

to a total term of imprisonment of 156 months based on the proposed sentence set out in the plea

agreement and the government’s subsequent § 5K1.1 motion reflecting defendant’s substantial

assistance. (Doc. 72.) On January 12, 2012, defendant filed the current motion seeking a reduction of

his sentence pursuant to § 3582(c)(2). (Doc. 124.)

    II.      Legal Standards & Analysis

             A. Sentencing Guideline Range

          Pursuant to 18 U.S.C. § 3582(c)(2), a district court may reduce a defendant’s sentence when the

defendant “has been sentenced to a term of imprisonment based on a sentencing range that has

subsequently been lowered by the Sentencing Commission [and] such a reduction is consistent with

applicable policy statements issued by the Sentencing Commission.” Defendant argues that §

3582(c)(2) entitles him to relief, but fails to mention any recently amended guidelines applicable to his

sentence. Rather, defendant focuses on his plea agreement, and cites United States v. Freeman, 131 S.

Ct. 2685 (2011), for the proposition that defendants who enter into Rule 11(c)(1)(C) plea agreements

that propose a specific sentence are eligible for relief under § 3582(c)(2).

          The Court in Freeman addressed whether defendants who enter into binding plea agreements

pursuant to Rule 11(c)(1)(C) are eligible for relief under § 3582(c)(2). Freeman, 131 S. Ct. at 2690.

In Freeman, petitioner entered into an 11(c)(1)(C) plea agreement and pleaded guilty to possession

with intent to distribute cocaine base, among other crimes. Id. at 2691. In the plea agreement, the

government and petitioner proposed a sentence of 106 months, which correlated directly with the

sentencing guidelines. Id. The district court in Freeman accepted the binding plea agreement, and


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 (PSIR ¶ 87.) The court held defendant accountable for 22,923.65 grams of methamphetamine and 712.85 grams of
marijuana, which resulted in a base offense level of 38. (PSIR ¶¶ 35, 41.) After receiving a three-level reduction for
acceptance of responsibility, defendant’s total offense level was 35. (PSIR ¶ 50.) Coupled with defendant’s criminal
history category of III, this resulted in an advisory guideline range of 210 to 262 months. (PSIR ¶ 87.)



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imposed the 106 month sentence, citing its application of the guidelines. Id. Three years later,

petitioner filed a motion under § 3582(c)(2) for sentence reduction when those guidelines were

subsequently lowered by the Sentencing Commission. Id. A plurality of the Court found that, although

petitioner agreed on a proposed sentence in his 11(c)(1)(C) plea agreement, because petitioner’s

sentence was based on the guidelines, he was eligible for relief under § 3582(c)(2). Id. at 2693-95.

However, the Court limited such relief stating, “when a defendant enters into an 11(c)(1)(C)

agreement, the judge’s decision to accept the plea and impose the recommended sentence is likely to

be based on the Guidelines; and when it is, the defendant should be eligible to seek § 3582(c)(2)

relief.” Id. at 2695. Thus, the Court held that defendants are entitled to relief under § 3582(c)(2) only

if the sentence imposed is based on the sentencing guidelines. Id.

       Defendant misinterprets the holding in Freeman and the nature of his plea agreement. Unlike

the petitioner in Freeman, the court did not sentence defendant based on the sentencing guidelines.

Pursuant to an 11(c)(1)(C) plea agreement, the parties may “agree that a specific sentence or

sentencing range is the appropriate disposition of the case, or that a particular provision of the

Sentencing Guidelines . . . does or does not apply (such a recommendation or request binds the court

once the court accepts the plea agreement).” Fed. R. Crim. P. 11(c)(1)(C). Thus, the proposed

sentence may reflect an agreement that the sentencing guidelines do not apply in a particular case. Id.

Here, the court found that based on defendant’s total offense level and criminal history, defendant’s

guideline range would have been 210 to 262 months. However, the court accepted the 11(c)(1)(C) plea

agreement and sentenced defendant to a term of imprisonment of 156 months, departing downward

from the sentencing guidelines. Although defendant entered into an 11(c)(1)(C) plea agreement that

proposed a specific sentence, his sentence was not based on the applicable sentencing guidelines.




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Accordingly, because the court did not sentence defendant based on the sentencing guidelines, he is

not entitled to relief based on the Court’s decision in Freeman or § 3582(c)(2).

        Moreover, even if the court had sentenced defendant based on the sentencing guidelines, a

motion for relief pursuant to § 3582(c)(2) explicitly requires the Sentencing Commission to

subsequently lower those guidelines. Defendant’s offenses involved possession and distribution of

methamphetamine and possession of a firearm in connection with a drug offense. Based on the drug

amounts attributed to defendant, the court found defendant had a total offense level of 35. Coupled

with his criminal history category of III, defendant’s advisory guideline range was 210 to 262 months.

Unlike the Petitioner in Freeman who was sentenced based on the crack cocaine guidelines that were

subsequently lowered, the Sentencing Commission has not amended any of the guidelines applicable to

the defendant. Specifically, the amount of methamphetamine possessed by defendant still provides for

a base offense level of 38.2 Thus, the guidelines that would have been applicable to defendant had he

not entered into the plea agreement remain unchanged by the Sentencing Commission.

        Therefore, because neither defendant’s sentence or his plea agreement were based on any

guidelines that have subsequently been lowered, he is not entitled to relief under § 3582(c)(2).

           IT IS THEREFORE ORDERED that defendant’s motion to reduce his sentence pursuant

to 18 U.S.C. § 3582 is denied.

        Dated this 1st day of May, 2012, at Kansas City, Kansas.


                                                              s/ Carlos Murguia
                                                              CARLOS MURGUIA
                                                              United States District Judge


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 Pursuant to § 2D1.1 and application note 10(D) of the sentencing guidelines, which have remained unchanged since
defendant’s sentencing, the 22,923.65 grams of methamphetamine attributed to defendant are converted to 45,847.3
kilograms of marijuana. According to the drug quantity table, 30,000 kilograms or more of marijuana provides a base
offense level of 38. U.S.S.G. § 2D1.1(c). Applying defendant’s three-level reduction for acceptance of responsibility,
defendant’s total offense level remains 35. (PSIR ¶ 50.)



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